
WRIGHT, J.
The imprisonment complained of as a trespass, is shown by the plaintiff to have been under color of legal process. The process was not void in a case where the court had no jurisdiction; if it were, it would be as if none had issued and could not protect the person using it from liability as a trespasser; but there is a great difference between irregular process and void process. We doubt not that the arrest of the body, on the first execution, would, on proper application, have been held a satisfaction of the judgments, and that the second writs, on like application, might have *been set aside. But the judgment in this case, remains in fact [345 unsatisfied, and a legal execution could be issued. It is supposed that the motive of the defendant in issuing the second executions, is to be inquired into. We think otherwise. On this motion the question is, had the defendant legal process under which the imprisonment was had ? not as to the motive which induced the suing *352out the process. He had the process. We think it was not void, though it might on proper application have been avoided as irregular. Irregular process, until set aside, affords protection to those that use it. The imprisonment is no very grievous matter — it compelled the debtor to do what he ought to have done without — pay his debt. He might have avoided that consequence by moving the entry of satisfaction and obtaining his discharge. If this thing has been done maliciously, he should have brought case, not trespass.'
Non suit .ordered;
